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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


 MISMA RIVERA, individually and on behalf of all
 others similarly situated,

                 Plaintiff,
                                                                  Case No: 19-CV-61664
                 v.

 METROPCS FLORIDA, LLC,

                 Defendant.




          METROPCS
          METROPCS FLORIDA,
                   FLORIDA, LLC’S
                            LLC'S MOTION TO COMPEL ARBITRATION

         Pursuant to 9 U.S.C. §§ 33 and
         Pursuant                   and 4,
                                        4, Defendant MetroPCS Florida,
                                           Defendant MetroPCS Florida, LLC
                                                                       LLC ("Metro")
                                                                           (“Metro”) hereby

 respectfully moves
 respectfully moves this
                    this Court          Order: (i)
                         Court enter an Order: (i) compelling
                                                   compelling individual
                                                              individual arbitration
                                                                         arbitration of Plaintiff

 Misma Rivera’s
 Misma Rivera's claims
                claims brought
                       broughtfor
                               for alleged
                                   alleged violations
                                           violationsofof 47  U.S.C. §§ 227(b)
                                                           47 U.S.C.     227(b) and
                                                                                 and

 47 U.S.C. § 227(c),
             227(c), as
                     as required
                        required by his agreement
                                        agreement with Metro; and (ii) staying or dismissing this

 litigation until arbitration is complete.

                                             INTRODUCTION

         Plaintiff Misma Rivera purports to assert Telephone
                                         to assert Telephone Consumer
                                                             Consumer Protection
                                                                      Protection Act
                                                                                 Act (“TCPA”)
                                                                                     ("TCPA")

 claims against
        against Metro
                Metro based
                      based upon
                            upon text messages
                                      messages that
                                               that were
                                                    were allegedly
                                                         allegedly sent
                                                                   sent to him on his wireless
                                                                                      wireless

        Even ifif aa violation
 phone. Even         violation occurred
                               occurred (one
                                        (one did
                                             did not), this Court
                                                 not), this Court is
                                                                  is not
                                                                     not aa proper
                                                                            proper forum
                                                                                   forum for
                                                                                         for Plaintiff’s
                                                                                             Plaintiff s

         Plaintiff’swireless
 claims. Plaintiffs  wirelessservice
                              serviceagreements
                                      agreementswith
                                                withMetro
                                                     Metrorequire
                                                           require him
                                                                   him to
                                                                       to individually
                                                                          individually arbitrate—

 rather than litigate in court—the claims he attempts to assert in this lawsuit.

                 Motion to
         Metro’s Motion
         Metro's         to Compel
                            Compel Arbitration
                                   Arbitration should
                                               should be
                                                      be granted
                                                         granted because
                                                                 because Plaintiff
                                                                         Plaintiff is
                                                                                   is bound
                                                                                      bound by
                                                                                            by the
                                                                                               the

 arbitration agreements
             agreements he
                        he entered
                           entered into
                                    into with
                                         withMetro.
                                              Metro. This case
                                                          case arises
                                                               arises directly
                                                                      directly from
                                                                                fromPlaintiff’s
                                                                                    Plaintiffs status

      “consumer” of Metro's
 as a "consumer"    Metro’s services.
                            services. See Compl.
                                          Compl. ¶¶ 26,34.
                                                 I 26,  34.As
                                                            Asa aconsumer
                                                                  consumerofofMetro
                                                                              Metro services,
                                                                                     services,
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 Plaintiff accepted Metro’s Terms and
                    Metro's Terms and Conditions
                                      Conditions and
                                                 and agreed to arbitrate on an individual basis any

 claims or disputes in
                    in any way
                           way related
                               related to  Metro's services.
                                        to Metro’s           Plaintiff also
                                                   services. Plaintiff also agreed
                                                                            agreed to waive his right

 to participate in a class action unless he opted
                                            opted out,
                                                  out, which
                                                       which he
                                                             he did
                                                                did not
                                                                    not do.
                                                                        do. Specifically:

 •      The scope of Plaintiff’s
                      Plaintiff's agreement to individually arbitrate his claims is broad, stating that

         “any and all claims
         "any         claims or Disputes
                                Disputes between [Plaintiff] and [Metro], in any way related to or

         concerning the
         concerning     Agreement, [Metro’s]
                    the Agreement, [Metro's] Privacy
                                             Privacy Policy, [Metro’s] Services,
                                                     Policy, [Metro's] Services, devices
                                                                                 devices or

         products, will
         products,      be resolved
                   will be  resolved by
                                     by binding
                                         binding arbitration."
                                                  arbitration.” See Declaration
                                                                    Declaration of Hope Norris,
                                                                                of Hope Norris,

         attached hereto as Exhibit A (“Norris
                                      ("Norris Decl.”)
                                               Decl.") ¶¶
                                                       In 21, 23.


 •                  claims in
         Plaintiff’s claims
         Plaintiffs         in this
                                this litigation
                                      litigation fall
                                                  fall squarely
                                                        squarely within
                                                                 within the
                                                                        the scope
                                                                             scope of
                                                                                   of the
                                                                                       the arbitration
                                                                                            arbitration

         agreements. Plaintiff’sclaims
         agreements. Plaintiffs  claimsrelate
                                        relatetotoor
                                                   orconcern
                                                      concernhis
                                                              his Metro
                                                                  Metro device
                                                                        device because
                                                                               because he: (i) bases

         his claims on text messages that were sent by Metro to the device; (ii) the text messages
                                                                                          messages

         were sent by Metro to Plaintiff in connection with Metro deals and benefits that he could

         receive as part of his Metro wireless service; and (iii) his agreements with Metro expressly

               “Metro by T-Mobile [to] contact you in any way, including, pre-recorded or artificial
         allow "Metro

         voice or text
         voice    text messages
                       messages delivered
                                delivered by an
                                             an automatic
                                                 automatic telephone
                                                            telephone dialing system,
                                                                              system, or e-mail
                                                                                         e-mail

         messages delivered by an automatic e-mailing system.”
                                                      system." Id. ¶ 28.

           reasons, and those set forth
 For these reasons,               forth more
                                        more fully
                                             fully below,
                                                   below, the
                                                           the Federal
                                                               Federal Arbitration
                                                                       Arbitration Act ("FAA")
                                                                                       (“FAA”)

 requires this Court to grant this motion and move this dispute into arbitration as quickly as possible.

 Thus, this Court should grant Metro’s
                               Metro's Motion to Compel Arbitration.

                                    FACTUAL BACKGROUND

         A.     Plaintiff Agreed to Metro’s
                                    Metro's Terms and Conditions.

         Plaintiff Misma
         Plaintiff Misma Rivera
                         Rivera isis a Metro
                                       Metro customer
                                             customer with   Metro account
                                                      with a Metro account ending
                                                                           ending in 6279
                                                                                     6279

 (the “Rivera
      "Rivera Account”).
              Account"). Id. ¶ 4. On September 27, 2010, Plaintiff activated a line of service with



      METRO’SMOTION
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 Metro. Id. ¶ 6. At
                 At the
                     the time
                         time of activation, Rivera entered a contract with Metro, which incorporated

         2010 Terms
 Metro’s 2010
 Metro's      Terms and
                    and Conditions,
                        Conditions, and
                                    and received
                                        received aa copy
                                                    copy of
                                                         of the
                                                            the Terms
                                                                Terms and
                                                                      and Conditions.
                                                                          Conditions. Id. I¶¶9-
                                                                                             9-

     TheTerms
 12. The Terms and
               and Conditions
                   Conditions contain
                              contain aa mandatory
                                         mandatory arbitration agreement. Id.
                                                                          Id. 'Irlf
                                                                               ¶¶ 11,
                                                                                    11, 13, 22-23.

          Since his initial activation, Rivera has not only continued to use his Metro device, but has

 upgraded the device multiple times, most recently on June 10, 2019. See id. ¶ 8. Metro's 2018
                                                                                  Metro’s 2018

 Terms and Conditions were in effect at the time of
                                                 of Rivera’s                                10. As
                                                    Rivera's most recent upgrade. See id. ¶ 10.

         the upgrade
 part of the upgrade process,
                     process, Metro
                              Metro automatically
                                    automatically generated Terms and Conditions, which were

 sent to Rivera via SMS to his phone number ending in 6059 in both Spanish and English. See id.

 ¶¶ 17.

          The 2018 Terms and Conditions clearly advise customers
                                                       customers that
                                                                 that they agree
                                                                           agree to be bound to

 the Terms and Conditions by doing any of the following:

          (a) Giving Metro written or electronic signature or telling Metro orally that you accept the
              Metro by T-Mobile Terms and Conditions of Service;

          (b) Activating Service (if you are a new subscriber);

              Using your
          (c) Using  your Service
                           Service after
                                   after your
                                         your Service
                                              Service is
                                                      is activated
                                                         activated or
                                                                   or after
                                                                      after you make a change
                                                                            you make   change or
              addition to your Service;

          (d) Paying for the Service; or

          (e) Failing to activate Service within 30 days after the purchase of your Metro by T-Mobile
              wireless device.

           Byactivating,
 Id. ¶ 18. By activating, using,
                          using, and
                                 and paying
                                     paying for
                                             for Metro
                                                 Metro service,
                                                       service, Mr.
                                                                Mr. Rivera
                                                                    Rivera agreed to be bound by,

 Metro’s T&Cs
 Metro's T&Cs and
              and the
                  the arbitration clause therein. Id. I¶¶9,9,14-15,
                                                              14-15, 19-20.
                                                                     19-20.

          The arbitration agreement—to which Mr. Rivera agreed—is featured prominently on the

 third page of the 2018 Terms and Conditions in bold lettering. Under the heading Metro by T-

 Mobile Terms and Conditions of Service, there is a notice before the first paragraph that reads,

 “IMPORTANT: READ THIS AGREEMENT
 "IMPORTANT:           AGREEMENT CAREFULLY.
                                 CAREFULLY. IT REQUIRES THE USE OF



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 INDIVIDUAL
 INDIVIDUAL ARBITRATION
            ARBITRATION RATHER
                        RATHER THAN
                               THAN JURY
                                    JURY TRIALS
                                         TRIALS OR CLASS ACTIONS

 TO RESOLVE DISPUTES."
            DISPUTES.” Id.
                        Id. ¶¶ 22 (emphasis in original).
                                  (emphasis in original). The
                                                          The Terms
                                                              Terms and
                                                                    and Conditions
                                                                        Conditions also

 prominently disclose and explain the arbitration obligation as follows:

        Dispute Resolution and Arbitration.       We each
                                    Arbitration. We    each agree that, except as provided
        below, any and all claims or Disputes between you and us, in any way related
        to or concerning the Agreement, our Privacy Policy, our Services, devices or
                                                                      “Dispute” shall be given
        products, will be resolved by binding arbitration. . . . "Dispute"
        the broadest possible meaning and shall include any dispute, claim, or controversy
        arising from or relating to this
                                      this Agreement
                                           Agreement oror Services
                                                          Services and/or
                                                                     and/or Products
                                                                            Products provided
        under this Agreement, including but not limited to: (1) all claims for relief and all
        theories of liability, whether based in contract, tort, statute, regulation, ordinance,
        fraud, or misrepresentation; (2) all disputes regarding the validity, enforceability or
        scope of this arbitration agreement (with the exception of its class action waiver);
        (3) all disputes that arose before this Agreement; (4) all disputes that arise after the
        termination of this Agreement; and (5) all disputes that are the subject of a putative
        class action in which no class has been certified. . . .

        If you do not wish to be bound by this arbitration agreement, you must notify us of
        your desire to do so within 30 days of initiating Service, or, if you have never had
        the opportunity to opt out of arbitration, within 30 days of the date of the change
        notice giving you the opportunity. . . .

 Id. ¶ 23 (emphasis in original).

        The 2018 Terms and Conditions also contain
                                           contain a class action waiver and jury trial

 waiver:

        CLASS ACTION
        CLASS    ACTION WAIVER.
                            WAIVER. WE  WE EACH AGREE AGREE THAT THAT ANY
                                                                        ANY DISPUTE
                                                                              DISPUTE
        RESOLUTION        PROCEEDINGS, WHETHER
        RESOLUTION PROCEEDINGS,               WHETHER IN      IN ARBITRATION
                                                                   ARBITRATION OR
        COURT, WILL
        COURT,                 CONDUCTED ONLY
                   WILL BE CONDUCTED           ONLY ON AN    AN INDIVIDUAL
                                                                  INDIVIDUAL BASISBASIS
        AND
        AND NOTNOT IN IN A
                         A CLASS
                            CLASS OR ORREPRESENTATIVE
                                           REPRESENTATIVE ACTION    ACTION OR OR ASAS A
        MEMBER OF
        MEMBER        OF AA CLASS,
                              CLASS,CONSOLIDATED
                                       CONSOLIDATED OR        ORREPRESENTATIVE
                                                                   REPRESENTATIVE
        ACTION. If a court or arbitrator determines in an action between you and us that
        this Class Action Waiver is unenforceable, the arbitration agreement will be void
              you. If you choose to pursue
        as to you.                   pursue your
                                             your claim
                                                   claim in  court by opting
                                                          in court     opting out of the
        arbitration
        arbitration provision
                     provision as specified above, this Class Action Waiver provision
                           you. Neither
        will not apply to you.  Neither you, nor any other
                                                        other customer,
                                                               customer, can
                                                                          can be a class
                                                                                    class
        representative, class member, or otherwise participate in a class, consolidated




     METRO’SMOTION
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           representative proceeding
        or representative proceedingwithout
                                     withouthaving
                                            havingcomplied
                                                   compliedwith
                                                           with the
                                                                 the opt out
                                                                     opt out
        requirements above.

        JURY TRIAL
        JURY     TRIAL WAIVER.
                        WAIVER. IfIfa claim
                                      a claimproceeds
                                               proceedsinincourt
                                                            courtrather
                                                                  ratherthan
                                                                         than through
                                                                               through
        arbitration, WE EACH WAIVE ANY RIGHT TO A JURY TRIAL.

 Id. ¶ 25 (emphasis in original).

        Metro makes customers aware of this dispute resolution provision through a variety means,

 for example, when a customer purchases a new phone from Metro, he is provided a one-page sheet

 explaining Metro’s return and
            Metro's return and upgrade
                               upgrade policies,
                                       policies, highlighting
                                                 highlighting important
                                                              important aspects
                                                                        aspects of
                                                                                of Metro’s Terms
                                                                                   Metro's Terms

     Conditions, and
 and Conditions, and providing
                     providing the
                               the web
                                   web address
                                       address for
                                               for the full terms
                                                            terms and conditions (the
                                                                  and conditions (the "Metro
                                                                                      “Metro

 Information
 Information Sheet”).
             Sheet"). Id. I¶¶12-14.
                              12-14.On
                                     Onthe
                                         theMetro
                                             MetroInformation
                                                    InformationSheet,
                                                                Sheet,there
                                                                       there isis aasection
                                                                                     section entitled,
                                                                                             entitled,

 “Metro Terms
 "Metro Terms and
              and Conditions,"
                  Conditions,” and
                               and the
                                   the first
                                       first line
                                             line of this section reads in bold print:

            activating or
        By activating     using Metro
                       or using Metro Service,
                                        Service, you
                                                  you agree
                                                      agree to the Metro
                                                                     Metro Terms
                                                                            Terms and
        Conditions of Service. Metro requires Arbitration of Disputes unless you opt-
        out within 30 days of activating. Details and the full version can be viewed at
        metropcs.com/terms.

 Id. ¶ 13. Each
           EachMetro
                Metro box
                      box also
                          also contains
                               contains aa sticker (the "Metro
                                           sticker (the “Metro Box
                                                               Box Sticker")
                                                                   Sticker”) on
                                                                             on the
                                                                                the outside
                                                                                    outside of the

                   removed before the box can be opened.
 box which must be removed                       opened. Id. ¶ 15. The Metro Box sticker

 references Metro’s
 references         Terms and
            Metro's Terms and conditions
                              conditions and
                                         and the applicability of the arbitration provision. Id. It

 also directs
 also directs customers
              customers to
                        to the full Terms
                           the full Terms and
                                          and Conditions
                                              Conditions on Metro’s website.
                                                         on Metro's website. Id. Additionally,

 when a customer purchases a new device from Metro, he is sent a text message notifying him of

 the Terms and Conditions and directing him to the website containing the Terms and Conditions:

 https://www.metropcs.com/terms-conditions/terms-conditions-service.html.
 https                                                                           Id.¶¶ 16.
       ://www.metropcs. com/tenns -conditions/tenns -conditions -service. html. Id.         Metro’s
                                                                                        16. Metro's

 records reveal that a text message notifying Mr. Rivera of the Terms and Conditions was sent to

 him several times over the last few years, including on June 10, 2019, November 28, 2018, and

                             Furthermore, the
 October 20, 2017. Id. ¶ 17. Furthermore,  the Terms
                                               Terms and
                                                     and Conditions are also located
                                                                             located on
                                                                                     on Metro’s
                                                                                        Metro's

 website, contain
 website, contain the official Metro
                               Metro logo,
                                     logo, and
                                           and clearly
                                                clearly contain
                                                         contain arbitration
                                                                  arbitration provisions.
                                                                              provisions. Id. ¶¶ 29.



     METRO’SMOTION
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 Although the Terms and Conditions provided Plaintiff the opportunity to opt out of arbitration, he

 never did. Id. 'Irlf
                ¶¶ 24-25,
                      24-25,30. Metro's records
                             30.Metro’s records also
                                                also reveal
                                                     reveal that
                                                            that Rivera
                                                                 Rivera regularly uses his Metro phone

 and service and pays his bill. Id. I¶¶7-8,
                                        7-8,19-20.
                                             19-20.

                                   ARGUMENT & AUTHORITIES

        A.      The FAA Applies and Requires Enforcement of the Arbitration Agreement.

        The     preempts state law
        The FAA preempts       law and
                                   and requires
                                        requires enforcement
                                                  enforcement of
                                                              of arbitration
                                                                  arbitration agreements
                                                                              agreements by

 providing that agreements to arbitrate “shall
                                        "shall be valid,
                                                  valid, irrevocable,
                                                         irrevocable, and
                                                                      and enforceable.”
                                                                          enforceable." 9 U.S.C. § 2.

 “A district court must compel arbitration
 "A                            arbitration and stay the underlying action if the parties had an earlier

 agreement to arbitrate
 agreement    arbitrate their dispute."
                              dispute.” Shea v. BB
                                                BBVA
                                                   VA Compass Bancshares,
                                                              Bancshares, Inc., No. 1:12-cv-
                                                                                    1:12-cv-

 23324-KMM, 2013 U.S. Dist. LEXIS 31906, at *9 (S. D. Fla. March 7, 2013); see also Sanders v.

 Comcast Cable Holdings, LLC, No. 3:07-CV-918J33HTS,
                                  3:07-CV-918J33HTS, 2008
                                                     2008 WL 150479, at *3 (M.D. Fla. Jan.

 14, 2008).

        The FAA unquestionably
                unquestionably applies
                               appliesto
                                       to the
                                           the arbitration
                                               arbitrationagreements
                                                           agreementsatatissue
                                                                          issuehere.
                                                                                here. The FAA

 applies to any
 applies    any written
                written arbitration
                        arbitration agreement
                                    agreement contained
                                              contained in a contract “evidencing a transaction
                                                             contract "evidencing    transaction

 involving commerce.”
 involving commerce." 99 U.S.C.
                         U.S.C. §§ 2.
                                   2. The
                                       TheSupreme
                                           SupremeCourt
                                                   Courthas
                                                         hasexpansively
                                                             expansively construed
                                                                         construed the phrase

 “involving commerce”
 "involving commerce" as
                      as extending
                         extending the
                                    the FAA’s
                                        FAA's reach
                                              reach to the full limit
                                                                limit of
                                                                      of Congress'
                                                                         Congress’ Commerce
                                                                                   Commerce

 Clause power. See Allied-Bruce Terminix Cos. v. Dobson, 513 U.S. 265, 268 (1995).

        Here, Metro’s Terms and
              Metro's Terms     Conditions expressly provide that “[b]ecause
                            and Conditions                        "[b]ecause this Agreement and

     Services provided
 the Services provided under
                       under this
                              this Agreement
                                    Agreement concern
                                               concern interstate
                                                        interstate commerce,
                                                                    commerce, this
                                                                               this arbitration
                                                                                     arbitration

 agreement shall
 agreement shall be
                 be governed
                    governed by
                             by the
                                 the Federal
                                     FederalArbitration
                                             ArbitrationAct.”
                                                         Act." Norris
                                                               Norris Decl.
                                                                      Decl. ¶¶ 26. Moreover, the
                                                                               26. Moreover,

 FAA applies because the contract between
                                  between Metro
                                          Metro and Plaintiff
                                                    Plaintiff is a contract between citizens of

 different states. See, e.g., Kong v. Allied Prof’l
                                   v. Allied        Ins. Co.,
                                             Prof'l Ins. Co., 750 F.3d 1295, 1303 (11th Cir. 2014)

 (finding arbitration
 (finding arbitration provision
                      provision governed
                                governed by
                                         by FAA
                                            FAA because
                                                because Allied
                                                        Allied is an Arizona
                                                                     Arizona corporation
                                                                             corporation and

 insured was a Florida citizen).


     METRO’SMOTION
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        A limited
        A limited liability
                  liability corporation’s
                            corporation's (“LLC’s”) citizenship is
                                          ("LLC's") citizenship is determined
                                                                   determined by the citizenship of

            members. Brady v. Chrysler Grp., No. 07-14394-CIV, 2008 WL 1957988, at *1 (S.D.
 all of its members.

 Fla. May 5, 2008) (“An
                   ("An LLC is a citizen of every state in which its members are citizens . . . . If a

 member is itself an LLC, its members will determine its citizenship, which will in turn determine

     citizenship of
 the citizenship of the
                    the LLC
                        LLC of
                            of which
                               which itit is
                                          is a member.").
                                               member.”). Metro
                                                          Metro isis aaDelaware
                                                                       Delaware LLC,
                                                                                LLC, whose
                                                                                     whose sole
                                                                                           sole

 member is
 member is T-Mobile
           T-Mobile South,
                    South, LLC,
                           LLC, another
                                 anotherDelaware
                                        DelawareLLC.
                                                 LLC. Norris
                                                      Norris Decl.
                                                             Decl. ¶¶ 3. T-Mobile South,
                                                                      3. T-Mobile South,

 LLC’s sole member
 LLC's sole member is
                   is T-Mobile
                      T-Mobile USA, Inc., a Delaware
                                            Delaware corporation
                                                     corporation with its principal place
                                                                                    place of

                             Thus, Metro’s
             Washington. Id. Thus,
 business in Washington.                   citizenship is
                                   Metro's citizenship is Delaware
                                                          Delaware and
                                                                   and Washington.
                                                                       Washington. Plaintiff

 alleges that he is “a resident of
                    "a resident of Broward
                                   Broward County,
                                           County, Florida.”
                                                   Florida." See Compl. ¶ 8.

        Finally, the FAA applies because Plaintiff’s
                                         Plaintiff's agreements with Metro relate to the provision

                                                                               the agreements
 of wireless service to Plaintiff across state line, further making clear that the agreements affect

 interstate commerce.
 interstate commerce.      See generally Goldberg
                           See generally Goldberg v. Sweet,
                                                      Sweet, 488
                                                             488 U.S.
                                                                 U.S. 252,
                                                                      252, 254-55
                                                                            254-55 (1989)
                                                                                    (1989)

 (telecommunications industry constitutes interstate commerce).

        Even if there is any
                         any doubt
                             doubt that
                                   that the
                                         the agreements
                                             agreements are enforceable
                                                            enforceable (which
                                                                        (which there is not), the

 Court should
 Court should interpret
              interpret any
                        any ambiguity
                            ambiguity in
                                      in favor
                                         favor of
                                               of enforcement. “The principal purpose of the FAA
                                                  enforcement. "The

 is to
 is to ensur[e]
       ensur[e] that
                that private
                     private arbitration
                             arbitration agreements
                                         agreements are enforced according
                                                    are enforced according to
                                                                           to their terms.” AT&T
                                                                              their terms."

 Mobility LLC v. Concepcion, 563 U.S. 333, 344 (2011) (internal
                                                      (internal quotation
                                                                quotation marks
                                                                          marks omitted).
                                                                                omitted). The

 FAA both
 FAA both “embod[ies]” and declares
          "embod[ies]" and declares aa “national policy favoring
                                       "national policy favoring arbitration.”
                                                                 arbitration." Id. at 346; Preston

 v. Ferrer, 552 U.S. 346, 353 (2008). The Supreme
                              (2008). The Supreme Court
                                                  Court has
                                                        has interpreted
                                                             interpreted the FAA as reflecting

 both "a
 both “a liberal
         liberal federal
                 federal policy
                         policy favoring
                                favoring arbitration,
                                         arbitration, and
                                                      and the
                                                          the fundamental
                                                              fundamental principle
                                                                          principle that
                                                                                    that arbitration
                                                                                         arbitration is

 aa matter
    matter of
           of contract."
              contract.” Concepcion, 563
                                     563 U.S.
                                         U.S. at
                                              at 333.  “Inline
                                                 333. "In  linewith
                                                               with these
                                                                     these principles,
                                                                           principles, courts
                                                                                       courts must
                                                                                              must

 place arbitration agreements on an equal footing with other contracts, and enforce them according

 to their
 to their terms.”
          terms." Id. at 339.




     METRO’SMOTION
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        The Supreme Court
        The Supreme Court has consistently recognized
                          has consistently recognized this
                                                       this strong
                                                            strong public
                                                                   public policy
                                                                          policy in
                                                                                  in favor
                                                                                     favor of

 arbitration. See, e.g. Am. Express Co. v. Italian Colors
                                                   Colors Rest., 133 S. Ct. 2304, 2308–09
                                                                                  2308-09 (2013);

 Concepcion, 563 U.S. at 339. Florida
                              Florida law is in accord. Maguire v. King, 917 So. 2d 263, 266 (Fla.

                2005), approved
 Dist. Ct. App. 2005), approved sub nom. Jackson
                                         Jackson v. Shakespeare Found., Inc., 108 So. 3d 587

 (Fla. 2013)
 (Fla. 2013) ("Florida
             (“Florida public policy favors resolving disputes through arbitration when the parties

 have agreed
 have agreed to
             to arbitrate.”).
                arbitrate.").

        To further the
        To further the FAA's
                       FAA’s purposes,
                             purposes, the
                                        the Supreme
                                            Supreme Court
                                                    Court has
                                                          has emphasized
                                                              emphasized that
                                                                         that courts
                                                                              courts should
                                                                                     should

                                                                  See Moses
 interpret arbitration clauses liberally in favor of arbitration. See Moses H. Cone Mem’l
                                                                            H. Cone       Hosp. v.
                                                                                    Mem'l Hosp. v.

 Mercury Constr.
 Mercury Constr. Corp.,
                 Corp., 460
                        460 U.S. 1,
                                 1, 24-25  (1983) ("[A]ny
                                    24-25 (1983)   (“[A]ny doubts
                                                           doubts concerning
                                                                  concerning the scope of
                                                                             the scope

 arbitrable issues
 arbitrable issues should
                   should be
                          be resolved
                             resolved in
                                      in favor
                                         favor of
                                               of arbitration.”). The Supreme
                                                  arbitration."). The Supreme Court
                                                                              Court has
                                                                                    has instructed
                                                                                        instructed

 that courts
 that courts should
             should "move
                    “move the
                          the parties
                              parties to
                                      to an
                                         an arbitrable
                                            arbitrable dispute
                                                       dispute out of court
                                                               out of court and
                                                                            and into
                                                                                into arbitration
                                                                                     arbitration as
                                                                                                 as

 quickly and
 quickly and easily
             easily as
                    as possible.”
                       possible." Preston, 552 U.S.
                                               U.S. at
                                                    at 357. “A prime
                                                       357. "A prime objective
                                                                     objective of
                                                                               of an
                                                                                  an agreement
                                                                                     agreement to
                                                                                               to

 arbitrate is
 arbitrate is to
              to achieve
                 achieve streamlined
                         streamlined proceedings
                                     proceedings and
                                                 and expeditious
                                                     expeditious results.”
                                                                 results." Concepcion, 563 U.S. at

 346.

        Therefore, the FAA applies to the agreements at issue here and requires enforcement of the

 arbitration agreement.

        B.      Plaintiff is Bound
                Plaintiff is Bound by
                                   by the
                                       the Arbitration
                                           Arbitration Agreement in Metro's
                                                       Agreement in         Terms and
                                                                    Metro’s Terms and
                Conditions.

        Plaintiff accepted
                  accepted the arbitration
                               arbitration agreements
                                           agreements in
                                                      in the
                                                         the Terms
                                                             Terms and Conditions
                                                                       Conditions when
                                                                                  when he first

 activated, used,
 activated, used, and
                  and paid
                      paid for his device. Norris
                                           NorrisDecl.
                                                  Decl. 'Irlf
                                                         ¶¶ 7-8,
                                                              7-8, 14-15,
                                                                   14-15, 18-20. And although
                                                                          18-20. And although the

 Terms and Conditions provided an opt-out provision that Plaintiff could have taken advantage of

        not wanted
 had he not wanted to
                    to arbitrate,
                       arbitrate, Plaintiff
                                  Plaintiff never
                                            never opted
                                                  opted out,
                                                        out, thereby
                                                              thereby consenting
                                                                      consenting to the
                                                                                    the arbitration
                                                                                        arbitration

 provisions. Id. I¶¶24-25,
                     24-25,30.
                            30.Plaintiff
                                 Plaintiffcontinued
                                           continuedtotodemonstrate
                                                         demonstrate his
                                                                     his intent
                                                                          intent to
                                                                                  to be
                                                                                     be bound
                                                                                        bound by the

       Terms and Conditions
 Metro Terms     Conditions during
                            during each
                                   each subsequent
                                        subsequent device
                                                   device update. For example,
                                                          update. For example, Mr. Rivera



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 upgraded his device on October 20, 2017, November 28, 2018, and June 10, 2019. Id. ¶ 8. After
                                                                                         After

 each of those upgrades, Metro sent the Terms and Conditions to the Rivera Account by SMS in

 both Spanish and English.
                  English. Id. ¶ 17. Although
                                      Although Plaintiff
                                               Plaintiff had
                                                         had an
                                                             an opportunity
                                                                opportunity to
                                                                            to opt
                                                                               opt out of the

 arbitration provision, he chose not to. Id. I¶¶24-25,
                                                 24-25,30.
                                                        30.Instead,
                                                             Instead,heheused
                                                                          usedhis
                                                                               hisdevice
                                                                                   device and
                                                                                           and service,
                                                                                               service,

 thereby agreeing to the arbitration provision of the Terms and Conditions.

         In addition to activating,
                        activating, using, and upgrading
                                               upgrading his device,
                                                             device, Plaintiff
                                                                     Plaintiff also manifested
                                                                                    manifested his

 agreement to arbitrate any disagreements
                            disagreements with Metro by continuously paying
                                                                     paying for his device and

          TheRivera
 service. The Rivera Account
                     Account reflects
                              reflects aa number
                                          number of
                                                 of payments
                                                    payments received including, but not limited to,

 payments for
 payments for service
              service on September 27,
                      on September 27, 2010,
                                       2010, the                           account, and on
                                             the day Mr. Rivera opened his account,

 October 21,
 October 21, 2017;
             2017; November
                   November 28,
                            28, 2018;
                                2018; and
                                      and June
                                          June 11,
                                               11, 2019,
                                                   2019, all within
                                                             within one day of his
                                                                               his account
                                                                                   account

                     FromJanuary
 upgrades. Id. ¶ 19. From Januaryto
                                  to July
                                     July of
                                          of 2019,
                                             2019, Metro
                                                   Metro received payment on the Rivera Account

                                          Through these,
 at least seven distinct times. Id. ¶ 20. Through  these, and
                                                          and other,
                                                              other, payments
                                                                     payments to
                                                                              to Metro,
                                                                                 Metro, Rivera once

 again affirmed his commitment to agree to arbitrate any disputes with Metro.

         C.      Plaintiff’s Claims are Subject to Arbitration.
                 Plaintiff's

                 1.      The arbitration clause delegates decisions on arbitrability to an arbitrator.

         The Court should compel Plaintiff to arbitrate because he agreed to an arbitration provision

 enforceable under the FAA. Thus,
                            Thus, there
                                   there are
                                         are no
                                             no further
                                                further issues to be decided by the Court, including

 whether Plaintiff’s
 whether             claims are
         Plaintiffs claims  are subject
                                 subject to
                                          to arbitration.
                                              arbitration. This
                                                           This is
                                                                 is because
                                                                    because the
                                                                             the arbitration
                                                                                 arbitration provision to

 which Plaintiff agreed delegates questions of arbitrability to the arbitrator.

        “When the
        "When the parties'
                  parties’ contract
                           contract delegates
                                    delegates the
                                              the arbitrability
                                                  arbitrability question
                                                                question to
                                                                         to an
                                                                            an arbitrator,
                                                                               arbitrator, the
                                                                                           the courts
                                                                                               courts

 must respect
 must respect the
              the parties’ decision as
                  parties' decision as embodied
                                       embodied in the contract."
                                                in the contract.” Henry Schein, Inc. v. Archer &

                    139 S.
 White Sales, Inc., 139 S. Ct.
                           Ct. 524,
                               524, 528
                                    528 (2019). “In those
                                        (2019). "In those circumstances,
                                                          circumstances, aa court
                                                                            court possesses
                                                                                  possesses no
                                                                                            no power
                                                                                               power

 to decide
 to decide the
           the arbitrability
               arbitrability issue.”
                             issue." Id. at 529; see Carnevali v. Yardley Car Co., No. 18-cv-62908,

      U.S. Dist.
 2019 U.S. Dist. LEXIS
                 LEXIS 10034,
                       10034, at
                              at ** (S.D.
                                    (S.D. Fla.
                                          Fla. Jan.
                                               Jan. 18,
                                                    18, 2019)
                                                        2019) ("
                                                               (“[A]s
                                                                 [A]s the Supreme Court recently


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                                                            arbitrability is wholly groundless, the
  ruled, even in instances where the argument in support of arbitrability

  threshold issue of arbitrability nonetheless must be decided by the arbitrator, not the Court, if the

  contract delegates the arbitrability question to an arbitrator.”).
                                                      arbitrator.").

          The arbitration clause in Metro's  terms and
                                    Metro’s terms  and conditions
                                                       conditions unmistakably
                                                                  unmistakably delegates
                                                                               delegates questions

  of arbitrability to an arbitrator. The
                                     The arbitration
                                         arbitrationprovision
                                                     provisionstates
                                                               statesthat “[f]or
                                                                      that"[f] or claims less than $75,000,

  the AAA's
  the AAA’s Supplementary
            Supplementary Procedures
                          Procedures for
                                     for Consumer-Related
                                         Consumer-Related Disputes will apply."
                                                                        apply.” Norris Decl.

  ¶ 27.  TheSupplementary
    27. The  Supplementary Procedures
                           Procedures state
                                      state that
                                            that they
                                                  they act
                                                       act in
                                                            in conjunction
                                                                conjunction with
                                                                            with the
                                                                                  the Commercial
                                                                                      Commercial

  Dispute Resolution
  Dispute Resolution Procedures
                     Procedures ("Commercial
                                (“Commercial Arbitration Rules").
                                                         Rules”). See AAA Supplementary
                                                                          Supplementary

  Procedures for Consumer-Related
                 Consumer-Related Disputes
                                  Disputes §§ C-1(a). As observed
                                              C-1(a). As observed by
                                                                  by the
                                                                     the Supreme
                                                                         Supreme Court,
                                                                                 Court, “[t]he
                                                                                        "[t]he

  rules of the American Arbitration Association provide that arbitrators have the power to resolve

  arbitrability questions.”
                questions." Henry Schein, Inc., 139 S. Ct. at 528. Specifically,
                                                                   Specifically, Rule 7 of the AAA

  Commercial Arbitration
  Commercial Arbitration Rules
                         Rules states
                               states that
                                      that “[t]he
                                           "[t]he arbitrator
                                                  arbitrator shall
                                                             shall have
                                                                   have the
                                                                        the power
                                                                            power to
                                                                                  to rule
                                                                                     rule on
                                                                                          on his or
                                                                                             his or

  her own jurisdiction, including any objections with respect
                                                      respect to the existence, scope, or validity of

  the arbitration
  the arbitration agreement
                  agreement or
                            or to the arbitrability
                               to the arbitrability of any claim
                                                    of any claim or
                                                                 or counterclaim."
                                                                    counterclaim.” See Commercial

                               – Jurisdiction.
  Arbitration Rules, at Rule 7 —  Jurisdiction. When the arbitration provision states that arbitration

  shall be conducted pursuant to the AAA rules—which contain an explicit delegation clause—the

  arbitration provision has made a clear delegation of scope-determining authority to an arbitrator.

  See Carnevali, 2019 U.S. Dist. LEXIS 10034,
                                       10034, at *7 ([T]he Court finds that the language of the

  parties’ contract
  parties' contract compels
                    compels the
                            the conclusion
                                conclusion that the arbitrator must determine the threshold issue of

  arbitrability in
  arbitrability               The Arbitration
                in this case. The Arbitration Agreement
                                              Agreement provides
                                                        provides for arbitration
                                                                     arbitration according
                                                                                 according to the

  American Arbitration
  American             Association (“AAA”),
           Arbitration Association  ("AAA"), whose
                                             whose rules
                                                   rules require
                                                         require the arbitrator
                                                                     arbitrator to
                                                                                to determine
                                                                                    determine

  whether the arbitration
  whether     arbitration agreement
                          agreement applies
                                    applies to   particular dispute.");
                                            to a particular dispute.”); Contec
                                                                        Contec Corp.    Remote
                                                                               Corp. v. Remote

  Solution Co., 398 F.3d 205, 208 (2d Cir.
                                      Cir. 2005)
                                           2005) (referring
                                                 (referring to Rule 7 of
                                                                      of the
                                                                          the AAA
                                                                              AAA Commercial
                                                                                  Commercial




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  Arbitration Rules
  Arbitration Rules and
                    and holding
                        holding that
                                that “when,
                                     "when, as here, parties explicitly incorporate rules that empower

                                    arbitrability, the incorporation serves as clear and unmistakable
  an arbitrator to decide issues of arbitrability,                                       unmistakable

  evidence of
  evidence of the parties' intent
              the parties' intent to delegate such
                                  to delegate such issues
                                                   issues to an arbitrator");
                                                          to an arbitrator”); Turner v. Pillpack, Inc.,

  2019 U.S.
  2019 U.S. Dist.
            Dist. LEXIS
                  LEXIS 90271,
                        90271, at *15 (W.D.
                               at *15 (W.D. Ky.
                                            Ky. May
                                                May 29,
                                                    29, 2019)
                                                        2019) ("When
                                                              (“When parties
                                                                     parties agree
                                                                             agree to
                                                                                   to settle
                                                                                      settle

  claims related
  claims related to
                  to aa contract
                        contract according
                                 accordingtotothe   rules of
                                               the rules  of the
                                                             the AAA,
                                                                 AAA, ‘they provide aa 'clear
                                                                      'they provide    ‘clear and
                                                                                              and

  unmistakable’ delegation of scope-determining authority to an arbitrator’
  unmistakable'                                                             because the
                                                                arbitrator' because the AAA
                                                                                        AAA rules
                                                                                            rules

  ‘provide[]
  `provide[] that
             that 'the
                  'the arbitrator
                       arbitrator shall
                                  shall have
                                        have the
                                             the power
                                                 power to
                                                       to rule
                                                          rule on
                                                               on his
                                                                  his or
                                                                      or her
                                                                         her own
                                                                             own jurisdiction,
                                                                                 jurisdiction, including
                                                                                               including

  any objections
  any objections with
                 with respect
                      respect to
                              to the
                                 the .. .. .. scope
                                              scope .. .. .. of
                                                             of the
                                                                the arbitration
                                                                    arbitration agreement.”).
                                                                                agreement.").

          Accordingly, the Court should
                                 should refer
                                        refer Plaintiff’s claims directly
                                              Plaintiffs claims  directly to
                                                                          to arbitration
                                                                             arbitration for the simple

  reason that Plaintiff agreed to an arbitration provision that contained a delegation clause.

                   2.      Plaintiff’s claims fall within the scope of the arbitration agreement.
                           Plaintiff's

          Although the
          Although the analysis
                       analysis of
                                of the scope of the
                                   the scope    the arbitration
                                                    arbitration agreement
                                                                agreement should
                                                                          should be
                                                                                 be left
                                                                                    left to the
                                                                                            the

  arbitrator as required by Henry Schein, Inc., even if this Court were to decide that issue, there can

  be no question that Plaintiff’s claims fall
                      Plaintiff's claims fall within
                                              within the
                                                     the scope
                                                         scope of
                                                               of the
                                                                   the arbitration
                                                                       arbitration clause.
                                                                                   clause. The mandatory

  arbitration provision
              provision to which Plaintiff agreed
                                           agreed is extremely
                                                     extremely broad,
                                                               broad, stating
                                                                      stating that               “any
                                                                              that it applies to "any

  and     claims or Disputes
  and all claims    Disputes between  [Metro] and
                             between [Metro]  and [Plaintiff],
                                                  [Plaintiff], in any way
                                                               in any way related
                                                                          related to
                                                                                  to or

  concerning the
  concerning     Agreement, [Metro’s]
             the Agreement, [Metro's] Privacy
                                      Privacy Policy,
                                              Policy, [Metro’s]
                                                      [Metro's] Services,
                                                                Services, [or] devices or
                                                                          [or] devices

  products.” Norris Decl.
  products."        Decl. ¶¶
                          In 21, 23 (emphasis
                                    (emphasis in
                                              in original). Plaintiff’s claims
                                                 original). Plaintiffs   claims fall
                                                                                 fall directly
                                                                                      directly within
                                                                                               within

  the scope of the arbitration clause because they relate to or
                                                             or concern
                                                                concern his
                                                                        his Metro
                                                                            Metro Account
                                                                                  Account and
                                                                                          and Metro’s
                                                                                              Metro's

  devices and products. Plaintiff
                        Plaintiff premises
                                  premises his
                                           his claims
                                               claims on
                                                      on text
                                                         text messages he received relating to Metro

  products and
  products and services. These claims
               services. These claims directly
                                      directly relate
                                               relate to Metro’s devices,
                                                      to Metro's  devices, products,
                                                                           products, and
                                                                                     and services.
                                                                                         services.

  Thus, Plaintiff’s claimsclearly
        Plaintiffs claims  clearlyand
                                   andfall
                                       fall within
                                            within the
                                                    the scope
                                                        scope of
                                                              of the
                                                                 the arbitration agreement as they relate

  to his Account with Metro and Metro’s products, devices,
                                Metro's products, devices, and
                                                           and services.
                                                               services.




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         D.      Stay or Dismissal of the Action is
                                                 is Appropriate
                                                    Appropriate Because
                                                                Because Plaintiff’s
                                                                        Plaintiff's Claims Must
                 Be Submitted to Arbitration.

         The FAA provides that, once satisfied that the suit should be moved into arbitration, a court

 “shall on application
 "shall    application of one of the parties stay the trial of the action."
                                                                   action.” 9 U.S.C. § 3 (emphasis
                                                                                         (emphasis

  added). Thus,
  added).  Thus, when,
                 when, as
                        as here,
                            here, aaplaintiff
                                     plaintiff asserts
                                                asserts claims
                                                         claims within
                                                                within the
                                                                        the scope
                                                                             scope of
                                                                                   of an
                                                                                       anenforceable
                                                                                          enforceable

  arbitration agreement,
  arbitration agreement, the
                          the court should stay the
                              court should      the action
                                                     action pending
                                                             pending arbitration.
                                                                      arbitration. Bender
                                                                                   Bender v. A.G.
                                                                                             A.G.

  Edwards & Sons, Inc., 971 F.2d 698, 699 (11th Cir. 1992) (“Upon
                                                           ("Upon finding that a claim is subject

  to an arbitration agreement, the court should order that the action be stayed pending arbitration.”).
                                                                                        arbitration.").

  Because Plaintiff must arbitrate the claims asserted here, Section 3 and Eleventh Circuit case law

  requires that this case be stayed, if not dismissed.

                                        V. CONCLUSION
                                        V.   CONCLUSION

         For all the reasons stated herein, Plaintiff is contractually required to individually arbitrate,

  rather than litigate his claims. Accordingly,
                                   Accordingly, Metro
                                                Metro respectfully
                                                      respectfully requests that this Court grant its

  Motion to Compel Arbitration and stay or dismiss this case in favor of arbitration.




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  Dated: August 2, 2019                    Respectfully submitted,
                                               Kristine M.
                                           /s/ Kristine M Brown

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                                           METROPCS FLORIDA, LLC.




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                                CERTIFICATE OF CONFERENCE

         Plaintiff was conferred with in a good faith effort to resolve the issues raised in the Motion

  to Compel Arbitration. Plaintiff
                         Plaintiff opposes
                                   opposes the
                                           the relief sought in this Motion.

                                                Respectfully submitted,
                                                    Kristine M.
                                                /s/ Kristine M Brown


                                   CERTIFICATE OF SERVICE

         I certify that on August 2, 2019, I caused to be served a copy of the foregoing Motion to

  Compel Arbitration,
  Compel Arbitration, and
                      and the
                          the document
                              document referenced
                                       referencedtherein,
                                                  therein,via
                                                           via the
                                                                the Court’s
                                                                    Court's ECF
                                                                            ECF system
                                                                                system on all
                                                                                       on all

  counsel of record registered through that system to receive electronic filings in this case.



                                                Respectfully submitted,
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                                                /s/ Kristine M Brown
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